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Rash PD

CRIMINAL COURT OF THE CITY OF NEW YORK |

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COUNTY OF NEW YORK | .
| Pape J of !
THE PEOPLE OF THE STATE OF NEW YORK =| FAMILY OFFENSE
| -apainst- DEFENDANT/VICTIM
RELATIONSHIP:
1, Kelly Price (¥ 40) ECAB # INTIMATE/ACCESS

1222673
Defendant, | MISDEMEANOR
rerendan". | ADA MARQUEZ
212-335-9522

 

Detective Samuel Fontanez, shield 0031: of the 028 Detective Squad, states as
follows: , :

On April 30, 2011, at about 06;6Thours inside of 315 West 116th Street in the
County and State of New York, the Defendant committed the offenses of;

1, PL215.503) Criminal. Contempt inthe Second Degree
{i count):

the defendant engaged in intentional disobedience to the Jawful mandate-of 8 court in.
~other than atebor-dispute. -

 

The offenses were committed under the following circumstances:

Deponent states that deponent is informed by Rahcern Powell, of an address
xnawn to the District Attomey's Office, that defendant called informant on the telephone
and stated in substance: ARE YOU RECORDING ME? 1 WANT TO TALK TO YOU
SO WE CAN WORK THINGS OUT. Deponent is further informed that informant hus
known defendant for more than two years and informant recognized defendant's veice.

Deponent states (i) that the above actions by defendant are in violation of an order
of protection issued on March 24, 2011 by Judge Amaker , docket number
401 1NY021627 , and which remuins in effect until May 10,2011 , (ii) that the order of |
protection directs the defendant to refrain from communication er any other contact by
mail, telephone, e-mail, voicemail or other clectronic means with Raheem Powell , and
(ij) that defendont is aware of the order of protection in that defendant was present 2)
court when the court ordec was issucd and the order of protection is signed by the
defendant.

 

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voy
False statements made herein are punishable as 4 class A misdemeanor pursuant to
sectlon 210.45 of the penal Jaw.

Deponent Dale and Time

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CRIMINAL COURT OF THE CITY OF NEW YORIC
COUNTY OF NEW YORK: PART D :

i

 

 

 

THE PEOPLE OF THE STATE OF NEW YORS

 

-against- SUPPORTING DEP OSITION
CPL. § 100.20

KELLY PRICE,
Docket No. 2011 WY032918

Defendast.

 

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I, Ralieem Powell, of an addtess town to the District Attorney's Office, County of New

York County , State of New York, being duly sworn, depose and say:

that I have read the Accusatory Instrument filed in. the above-ehtitied-action and attached
heteto and that the Facts therein stated to be on information furnished by me are true upon my

personal knowledge.

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misdemeanor parsuant to section 21045 of the penal lam.

CBM
Signature (Meponent) Date
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Case 1:15-cv-05871-LAP Document 16-3 File 95/09/16 Page 44 of 71

DEBRIEFING AGREEMENT

With respect to the meeting of Kenya Weils, an Assistant District Attorney in the Office
of the Disirict Attorney for New York County ("Office") with Kelly Price ("Client") to be held
on the date of this memorandum, the following understandings exist:

(1) Should any prosecutions be brought against Client by this Office, this Office will not
offer as evidence in its case-in-chief any staternent made by Client at the meeting, except ima
prosecution for false statements or perjury

(2) Notwithstanding paragrapht ong, (a) this Office may usé information derived directly.
or indirectly. from Client's statcinents at the mecting for the purpose of obtaiting leads to other’
evidence, and if any such evidence is developed, it imay-he weed In any prosecution of Clientand:
(b) should any: prosscution of Client be undertaken, this Office may use statements made By! —
Client'at the mesting and alvevidence obtained directly or indirectly therefiom. for the purpose 9 i
~ eross-ex% ination should Ch testify, or to rebut any evidence offered by or on belall 0! eS
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- date; and does not apply to any oral; written Ge recorded siaiements made by Client at any other
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st neeting: sther than those set foxth im this agreement, and none will be entered BR

respect to the meeting ©

  

 

 

a mlessein-writing and

DATED: New York, New York
June 21, 2011

CYRUS BR. VANCT, JR,
District Attorncy
New York County

 

 

Ss

‘Attorney for Client

NN
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ase 1:15-cv-05871-KPF Document 41-4 Filed 01/03/17 Page 8 of 54

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Peaple v Price (Kelly)
: 2016 NY Slip Op 50231(U) |

Decided on February 25, 2016

Appellate Term, First Departinent

 

Published by New York State Law. Reperting Bureau pursuant to Judiciary Law § 431.

 

This opinion is uncorrécted and will sot be published in the printed Official Reports.

 

 

 

 

Decided on February 25, 2016

SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT :
PRESENT: Schoenfeld, J.P., Shulman, Hunter, fr, JJ. i
571134/12

The People of the State of New York, Respondent, -
against

Kelly Price, Defendant-Appellant.

Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Robert M. Mandelbaum, J,),
rendered October-18,2012,convicting.him,-after.a.nonjury.trial,.of two counts of disorderly conduct, and imposing sentence, amelie

Per Curiam.

Judgment of conviction (Robert M. Mandelbaum, J.), rendered October 18, 2012, reversed, on the law and the facts, and the
accusatory instrument is dismissed.

The verdict convicting defendant of two counts of disorderly conduct (see Penal Law §§ 240.20(2], [3]), was not based on legally |
sufficient evidence and was, in any event, against the weight of the evidence. The trial evidence showed that defendant called police
after she was asked to leave a midtown Manhattan bar on a Saturday evening: the responding officers observed defendant to be visibly
upset and they tried te calm her dawn; upon interviewing people inside the bar, the officers informed defendant that there was no
action that they could take on her behalf; defendant was angry, but walked away from the scene; arid that as defendant was
approximately 20 feet away from the officers, she turned her head ant! shouted an epithet at them, Gn these Jacts, defendant's jnient to
cause public inconvenience, annoyance, or alarm, or recklessness in creating such a risk, was not established beyond a reasonable
doubt (sce Penal Law § 240.20 People v Baker, 20 NY3d 354 [2013]). Defendaat's conduct ditt not indieate an intent to breach the
peace, or even constitute an act froin which a breach of the peace was likely to oceur (see People v Johnson, 22 NY3d 1162 [2014];
People v Baker, supra; People v Pritchard, 27 NY2d 246 [1970]; People v Smith, 19 NY2d 212 [] 967).

THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.

I] concur ] concur I concur

Decision Date: February 25, 20164
 

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SUPREME COURT OF THE STATE OF NEW YORK
APPELLATE TERM: FIRST DEPARTMENT

 

x
THE PEOPLE OF THE STATE OF NEW YORK, : |
Respondent,
-against- ;
KELLY PRICE,
7 Defendant-Appellant. |
x

 

STATEMENT PURSUANT TO RULE 5531
1. The docket number in the court below was 201 INY016509.
——2. “The fill manes oF the original parties were People of the ‘State-of New-York———— ——

against Kelly Price. There has been no change of parties on appeal. |

3. This action was commenced in Criminal Court, New York County.
4, This action was commenced by the filing of an accusatory instrument.
5. This appeal is from a judgment convicting appellant, after a bench trial, of two

counts of disorderly conduct (P.L. §240.20(2); P-L. §240.20(3)).

6. This is an appeal from a judgment of conviction rendered October 18, 2012
(Mandelbaum, J., at trial and sentencing).

7. Appellant has been granted permission to appeal as a poor person on the original

record. The appendix method is not being used.
 

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PRELIMINARY STATEMENT

This is an appeal from a judgment of the Criminal Court, New York County, dated
October 18, 2012, convicting appellant, after a bench trial, of two counts of disorderly
conduct (P.L. §240.20(2); P-L. §240.20(3)}, and sentencing her to a conditional discharge
and three days community service (Mandelbaum, J., at trial and sentencing).

Timely notice of appeal was filed and, on January 7, 2013, this Court granted
appellant leave to appeal as a poor person on the original record and typewritten briefs,
and assigned Seymour James, Jr., successor to Steven Banks, as appellate counsel.

Appellant did not have any codefendants below. She is not incarcerated pursuant

to the judgment above.

QUESTION PRESENTED

Whether the convictions should be reversed and the
accusatory instrument dismissed where the evidence was
insufficient to establish that appellant had the requisite mens
rea to commit disorderly conduct. U.S. Const., Amend. XIV;
N.Y. Const. art. ], §6; P-L. §240.20.

! References are to the trial transcript (Part 1), dated October 17, 2012; Those preceded by "T™
are to the combined tial minutes (Part 2) and sentencing minutes, dated October 18, 2012.

 

The original complaint, which charged appellant with onc count of disorderly conduct PL.
§240.20(3)), was replaced by a Prosecutor's Information charging ber with both P.L. §240.20(2)
and P.L. §240.20(3) (2-3)-

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STATEMENT OF FACTS

Trial
On September 24, 2011, at about 10 pun., Police Officer Matthew Winters, @ |

seven-year veteran of NYPD assigned to Midtown South, and his partner, Police Officer |
Michael Relf, responded to a radio run of an assault in progress at Stitch Bar, 247 W.
37th St, New York County (27-30, 61, 64). 2 There, Winters was approached by
appellant, who had called to report the assault and was standing in front of the bar
waiting for the police to arrive. Winters recalled that appellant was upset and had "visible
bruises" on her arms (30, 62-64).

After briefly speaking to appellant, Winters went inside the bar to hear "the other

 

side of the story” while appellant remained outside (30, 63-64). When Winters returned a |

few minutes later, he told appellant that the police would not be charging anyone and
refused to take her complaint (30-31, 51-54, 64). |

While Winters was conversing with appellant, he was standing by the curb next to
several other officers, and leaning on a phone booth with his back to the street. Appellant,
who appeared visibly exhausted, stood direcily in front of Winters (31-34). After Winters
told appellant that the police would not assist her, appellant became more upset. The tone

of her voice became higher and her hand gesturing movements became more animated
|

(33). Winters testified that he tried to calm appellant down -- he told her to “calm down" |

 

? September 24, 2011 was a Saturday. |

3 Counsel told the court that, at the time of trial, CCRB was investigating the police response to
appellant's 911 complaint and the circumstances of her arrest in the instant case (12-14).

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and "speak lower." Appellant lowered her voice but, as she grew more excited, the tone
of her voice became elevated (33-34, 54-55).

Appellant communicated to Winters, who spoke to appellant for about five
minutes, that she was upset about the way the police were handling her complaint. In
response, Winters told her to contact the Better Business Bureau if “she had a problem
with the establishment" (34-35, 65-67, 70-71). After Winters made the remark, appellant
started walking away from the bar towards Eighth Avenue, When she had walked about
20-25 feet, appellant glanced over her shoulder and yelled to Winters, "go t--- yourself
in a tone that Winters ranked as 9 on a 1-10 scale with 10 being the highest. Because

appellant's remark was “loud enough for others to hear," Winters immediately grabbed

appellant and placed her under arrest (34-35, 55-58, 65-68, 70-71), Winters ‘did not recall

appellant making any other derogatory statements prior to her arrest (36-37).

Throughout the course of their conversation, Winters recalled, appellant's tone
“fluctuated up and down" with her emotions. After he told her that police would not be
charging anyone, appellant became more upset and her tone became higher (66-69).

From the time Winters first responded to the time of appellant's arrest, Winters
estimated that there were about twenty people in the area. "There were a few [people] in

front of the bar, a few to my left, a few to my right, and a few across the street" (35), He

 

‘The People introduced a videotape showing the police responding to the scene, and Winters
speaking to appellant, entering the bar, exiting the bar, and again speaking 10 appellant, who
could be seen waving her arms (51-54, 65: People's exhibit number 2).
 

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testified that "[pJeople were walking through us as we were speaking with the defendant"
and that some people stopped on the sidewalk (37).°

When Police Officer Michael Reif, Winters' partner, first observed appellant, she
was animated and “on the verge of crying” (T. 16-19, 26-27). As appellant described the
incident, Relf recalled, the tone of appellant's voice fluctuated considerably — she spoke
calmly one minute, and was yelling the next (T. 16-19, 26-27). After Relf and his partner
spoke to the bar manager and fwo patrons, they decided not to arrest anyone for assault
(I’. 20-21, 28).

Although appellant was initially calm when Winters told her that the police would
not be making an arrest, she became upset after Winters refused to take her statement.

Appellant, who feltas if she had been wronged; Relf testified; then purportedly became

“animated and aggressive" and she told Winters that NYPD was "worthless" and "she is
the victim" (T. 20, 28-30). ° After appellant yelled “go t--- yourself" as she was walking
away from the scene in a tone Relf described as a 9,’ Winters arrested appellant for using
"obscene language easily within hearing of the general public" (T. 22-25, 30-31).

Relf described the area as mostly commercial. Although there were about ten

people in the general area and appellant's comments caused some pedestrians to glance

 

5 The court stated that it would only consider the "go f--- yourself statement because the other
statements contained in the complaint were apparently made after appellant was arrested and
would be precluded (38).

® When asked to describe the tone of appellant's voice at the time she made the comments, Relf
testified her tone was a7 or 8 on ascale of | to 10 with 10 being the highest (T. 28).

? Ona scale of ] to 10 with 10 being the highest tone (T. 30-31).
Case 1:15-cv-05871-KPF Document 41-4 Filed 01/03/17 Page 21 of 54

 

 

 

 

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over, appellant did not try to engage any of them and none of them got involved (1. 20-
21, 24-31).

When Midtown South Police Officer Dianne Melidones responded to Stitch Bar,
Winters was on the sidewalk in front of the bar talking lo appellant, who appeared
"apitated" and was waving her hands around, and Melidones remained with appellant
when Winters went inside the bar (72-75; T. 3-5). When Winters returned and informed
appellant that the police would not help her, appellant's tone became elevated. After
Winters told appellant to contact the Better Business Bureau about her complaint,
appellant started walking away from the scene. As she was walking away, appellant was
purportedly "screaming and carrying on" and, after she told the police "go f--- yourself,”
Wijiters proceeded to arrest her (77-79; T- 259-12): =

During the encounter, Melidones testified, a few pedestrians glanced over as they
passed by but continued walking and did not have any audible reaction, and a "crowd of
five people gathered across the street” (75-79; T. 9, 13-15). Appellant made no attempt to

engage any of the bystanders or pedestrians (T. 9-11).

The Defense Motion to Dismiss

After the People rested, counsel moved for a trial order of dismissal. ‘The defense
maintained that the People failed to make out a prima facie case since the evidence was
insufficient to support the inference that appellant acted intentionally or recklessly to
create a public safety risk. Citing, inter alia, People v. Munafo, 50 N.¥.2d 326 (1980),

counsel noted that the dispute was a private matter solely between appellant and the

 

 
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police -- specifically officer Winters -- regarding her assault complaint. Although a few
pedestrians glanced in appellant's direction as they walked by, they did not get involved
and there was no indication that appellant sought to incite or involve the public or that the
public was inconvenienced, annoyed, or alarmed. Thus, counsel continued, the
circumstances did not support the inference that appellant intentionally or recklessly
created a risk that the private dispute between her and the police would extend its
boundaries and become a public issue (T. 33-37, 40-48).

In response, the prosecutor contended that yelling "go f--- yourself" in a loud tone
- even just once — is sufficient to establish "unreasonable noise" under subsection (2) of

PL. §240.20 (T. 49-50). Citing People v. Weaver, 16 N.Y¥.3d 123 (2011), the prosecutor

further argued that appellant's use of “profanities one time™ was: sufficient-to-satisfy P-b-

§240.20(3), and that the noise and obscene language recklessly "created a risk to the
public" (T. 49-53).

The court denied the defense motion (T. 57).

The Closing Arguments

Counsel maintained that the People failed to prove beyond a reasonable doubt that
appellant had the requisite mens rea or actus rea to commit disorderly conduct. Appellant
sought out the police after she was assaulted and when they refused to take her complaint,
she became justifiably upset with Winters. At no point, however, did appellant attempt to

involve or incite others and, although a few curious pedesirians tumed to look, they

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continued walking, and there was no evidence it caused them to become inconvenienced,
annoyed, or alarmed or created a risk to public safety (T. 58-61, 66-68). |

Counsel further noted that appellant made the derogatory remark to Winters |
because she was nervous and upset with Winters, and not to intentionally incite others
and, moreover, the disorderly conduct statute was not intended to criminalize the conduct
here — a single derogatory remark made during a private dispute with a police officer.

Counsel also pointed out that the encounter occurred in midtown Manhattan, where the

 

public is constantly barraged with sirens and other loud noises; which is relevant in
assessing whether the noise was "unreasonable" (T. 59-68).

In response, the People contended that appellant intended to cause public

 

inconvenience, annoyance, or alarm because she Wag “already waltated-and worked “up

and then became even more agitated when they told her they would not arrest the person
but when they told her she should go to the Better Business Bureau she got even more
upset because she wasn't having her own way and she continued yelling and cursing and
then walked away from the place. At the monient she said ‘go f--- yourself [in a loud
tone] we know that her intention was to cause public inconvenience, annoyance, or alarm
[because] she did net state to the police officers ‘go fuck yourself ‘ when she was standing
right in front of them within 2 to 3 feet” (T. 71-75). According to the prosecutor, because
appellant was aware that members of the public were in the area, by making unreasonable
noise and yelling obscenities and gesturing, she recklessly created a risk to others (7. 77-

82).
 

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Sentencing

Appellant was convicted of both PLL. §240.20(2) and P.L. §240.20(3) (fT. 82).
Before sentencing, appellant apologized for her actions and explained to the court that
she was a victim of domestic violence and suffered from post dramatic stress syndrome,
and that the guilty verdict was punishment enough (T. 83-85). The court sentenced
appellant to a conditional discharge and three days community service, and imposed a

$120 mandatory surcharge (T. 85-86).

ARGUMENT

POINT

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|
“THE CONVICTIONS SHOULD BE REVERSED xo CCS SC'?:

ACCUSATORY INSTRUMENT DISMISSED WHERE
THE EVIDENCE WAS INSUFFICIENT TO ESTABLISH
THAT APPELLANT HAD THE REQUISITE MENS REA
TO COMMIT DISORDERLY CONDUCT. U.S. CONST.,
AMEND. XIV; N.Y. CONST. ART. 1, §6; P.L. §240.20.

Shortly before 10:00 p.m. on the Saturday night in question, appellant called 91]
to report that she was being assaulted in Stitch Bar in midtown Manhattan. When officer
Winters and his partner responded to the scene, they were approached by appellant, who
was standing in front of the bar waiting for the police to arrive. Appellant, Winters
recalled, was distraught and had visible bruising on her arms. As appellant described the
incident 1o Winters, the tone of appellant's voice fluctuated with her emotional state;

When she was calm, appellant spoke in a low tone and when she was agitated or upset,

appellant's tone became elevated. After briefly speaking to a couple of people about the
 

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allegations outside of appellant's presence, Winters informed appellant that the police
would not take any further action and refused to take her assault complaint. When
Winters suggested that appellant contact the Better Business Bureau about her complaint,
appellant became upset and started to walk away. After she had walked about 25 feet,
appellant glanced over her shoulder and, as she continued walking, yelled to Winters, "go
f--- yourself." Winters immediately arrested appellant for disorderly conduct. As
discussed below, because evidence that appellant had the requisite mens rea to commit

disorderly conduct was lacking, the convictions must be reversed and the accusatory

 

instrument dismissed. |
It is a fundamental principle that a criminal conviction cannot stand absent

“sufficient proof beyond a reasonable doubt on every element of the offense. See Jackson

v. Virgina, 443 U.S. 307, 316 (1979). A conviction is legally insufficient where, viewing |

the record in the light most favorable to the prosecution, there is no “valid line of |

reasoning and permissible inferences from which a rational jury could have found the

elements of the crime proved beyond a reasonable doubt.” People v. Maldonado, 24

N.Y 3d 48 (2014)(quoting People v. Danielson, 9 N.Y 3d 342, 349 (2007)); see People v.

Khan, 18 N.Y.3d 535, 541 (2012); People v. Williams, 84 N.¥.2d 925, 926 (1994);

People v. Contes, 60 N.Y.2d 620, 621 (1983). 5

 

 

8 Counsel preserved the legal insufficiency argument by moving for a trial order of dismissal
based on the lack of evidence of “public harm," a requisite element of P.L. §240.20. See People
v. Hawkins, 1] N.Y .3d 484 (2008); People v. Gray, 86 N.Y.2d 10 (1995).

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Moreover, even if all the elements are supported by some credible evidence, the
Court still must examine the evidence further and “determine whether an acquittal would
not have been unreasonable." People v. Bailey, 94 A.D.3d 904, 905 (2d Dept. 2012), If,
based on the credible evidence, a different finding would not have been unreasonable,
then the appellate court must "weigh the relative probative force of conflicting testimony
and the relative strength of conflicting inferences that may be drawn from the testimony."
People v. Bleakley, 69 N.Y.2d 490, 495 (1987)(citation omitted), see People v.
Danielson, 9 N.Y 34 342; People v. McFadden, 106 A.D.3d 1020 (2d Dept. 2013)(noting
there is no preservation requirement for appellate weight-of-the-evidence review).

In reviewing, a weight of the evidence claim, an appellate court exercises its power

 

to “alfirmatively review the record; independently assess all Of the proof, substitute its” ~

own credibility determinations for those made by the jury[,] determine whether the
verdict was factually correct, and acquit a defendant if the court is not convinced that the
jury was justified in finding that guilt was proven beyond a reasonable doubt." People v.
Delamota, 18 N.¥.3d 107, 117 (2011); see Danielson, 9 N.Y.3d at 348; Bleakley, 60

N.Y.2d 490.

Appellant lacked the mens rea to commit disorderly conduct

Appellant was convicted of two counts of disorderly conduct, P.L. §240.20(2) and
P.L. §240.20(3). Under Penal Law §240.20(2), “{a] person is guilty of disorderly conduct
when, with intent to cause public inconvenience, annoyance or alarm, or recklessly

creating a risk thereof. . . [hle makes unreasonable noise.” Under Penal Law §240.20(3),

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“[a] person is guilty of disorderly conduct when, with intent to cause public
inconvenience, annoyance or alarm, or recklessly creating a risk thereof . . . [iJn a public
place, he uses abusive or obscene language, or makes an obscene gesture."”

That the "defendant's disruptive statements and behavior {are} of a public rather
than an individual dimension . . . stems from the mens rea component, which requires
proof of an intent to threaten public safety, peace or order (or the reckless creation of
such a risk)." People v. Baker, 20 N.Y¥.3d 354, 360 (2013). The Court of Appeals in
People v. Baker noted that, because of its "important narrowing function," without which
the disorderly conduct statute would be vulnerable to constitutional attack, the “public
harm" element "cannot be overstated." People v. Baker, 20 N.Y.3d 354, 360. Thus, "a
person may be guilty of disorderly conduct only when the sitvation extends beyond the
exchange between te individual disputants to a point where it becomes a potential or
immediate public problem" Id. at 359-360; see People v. Bakolas, 59 N.Y.2d 51, 54
(1983)(public harm clement vital to the constitutionality of P.L. §240.20 because it

“narrows the definition fof prohibited conduct], so that no inadvertent .. . act may be

punished”).

 

7A person acts intentionally with respect to a result or to conduct described by a statute
defining an offense when his conscious objective is to cause such result or to engage in such
conduct.” P-L. §15.05(1).

"A person acts recklessly with respect to a result or to a circumstance described by a statute
defining an offense when he is aware of and consciously disregards a substantial and
unjustifiable risk that such result wil] occur er that such circumstance exists. The risk must be of
such nature and degree that disregard thereof constitutes a gross deviation from the standard of
conduct that a reasonable person would observe in the situation. A person who creates such a
risk but is unaware thereof solely by reason of voluntary intoxication also acts recklessly with
respect thereto.” P.L. §15.05(3).

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To determine whether the record supports an inference that the defendant had the

requisite mens rea, courts conduct “a contextual analysis that turns on consideration of
many factors, including ‘the tine and place of the episode under scrutiny; the nature and |
character of the conduct; the number of other people in the vicinity; whether they are |
drawn to the disturbance and, if so, the nature and number of those attracted; and any |
other relevant circumstances." Baker, at 360 (quoting People v. Weaver, 16 N.Y.3d 123,
128 (2011)). Although the risk of public disorder does not have to be realized, "the
circumstances must be such that defendant's intent to create such a threat (or reckless
disregard thereof) can be readily inferred." People v. Baker, supra (citing People v
Todaro, 26 N.Y.2d 325, 329 (1970)).

—oeecannenneasnsn > the Court of Appeals revisited several of its seminal decisions analyzing

the "public harm" element of the disorderly conduct statute, and the decision provides a

helpful contextual framework for assessing whether a patticular situation “extend[s]

beyond the exchange between the individual disputants to a point where it becomes a

potential or immediate public problem." People v. Baker, 20 N.Y .3d at 359-360 (citing

People v Weaver, 16 N.¥.3d at 128 (internal quotation marks and citation omilted)).

The defendant in Baker approached a police car that was parked on a residential

block in Rochester and asked the officer inside why he had checked the license plate of a

car that was parked in his girlfriend's driveway across the street. The officer replied that

"he could run a plate if he wanted to,” and the defendant, who started backing away from

the officer towards the middle of the street, swore at the officer in a loud tone. When the

officer asked "what did you say,” the defendant repeated the profanity and accused the

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officer of harassing him. The officer then arrested the defendant for disorderly conduct.
Baker, at 3457.

Although the defendant swore at the officer in a loud tone and his conduct
attracted the attention of about ten bystanders, who had gathered on the sidewalk to
watch the interaction, the Court, reversing the defendant's plea conviction, held there was
‘no record basis for the finding of probable cause" to arrest the defendant for P.L.
§240.20(3) because the proof was "insufficient to support the public harm element.” Jd. at
362-363.

Conducting a multi-factored contextual analysis, the Baker Court noted that the

defendant's “public outburst" -- which consisted of making two loud derogatory

"occurred around dinner time on a heavily-populated city strect bustling with car traffic
and pedestrian activity,” the Court observed, "there was no significant likelihood that
defendant's brief statements loud [as} they were would disrupt peace and order in the
vicinity.” People v. Baker, at 363.

The Court further noted that, although a group of bystanders had gathered around
the defendant and his girlfriend, there was "no evidence that the bystanders expressed any
inclination, verbally or otherwise, to involve themselves in the dispute between defendant
and [the officer]" and "no basis to infer that these spectators were motivated by anything
other than curiosity." Baker, at 363. In addition, the Court pointed out that the derogatory
statements were "not accompanied by menacing conduct" and, in fact, the "defendant was

stepping away trom the vehicle when he made them." Nor was there any basis to infer

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Statements claiming harassment -- was "extremely brief." Jd And, bécause the incident” ~
 

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that the officer felt threatened by the statements, and the presence of another officer at the
scene who was "fully able to provide assistance diluted the risk that others in the vicinity
would join forces with [the] defendant and gang up on [the officer]." Jd.

"Another factor worthy of consideration," the Baker Court continued, was that the
abusive statements were directed at a police officer.

[Both at its inception and conclusion, the verbal exchange
was between a single civilian and a police officer. The fact
that defendant's abusive statements were directed exclusively
at a police officer a party trained to diffuse situations
involving angry or emotionally distraught persons further
undermines any inference that there was a threat of public
harm, particularly since the police officer was in a position of
safety and could have closed his windows and ignored
defendant. . . . {Ijsolated statements using coarse language to
___ criticize _the actions of a police officer, unaccompanied by
provocative acts or other aggravating circumstances, will”
rarely afford a sufficient pasis to infer the presence of the
"public harm" mens _rea necessary to support a disorderly

eonduct charge.

 

 

People v. Baker, 20 N.¥.3d at 363 (emphasis added).

As discussed below, the underlying facts in the instant case are strikingly similar
to those in Baker. While in Baker, the facts did not provide a record basis to support a
finding of probable cause, tn the instant case there was an insufficient factual basis to
support the conviction. The encounter here was merely a "purely personal clash” and
"momentary . . . flare-up [and did not] attain the degree of gravity warranting criminal
prosecution under the statute.” Baker, at 361 (citing People v. Pritchard, 27 N.Y 2d 246,

249 (1970)).
 

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Nature and character of the conduct

As in Baker, appellant's outburst was extremely brief. Dissatisfied with the way
officer Winters responded to her complaint, appellant expressed her dissatisfaction by
making a loud derogatory remark to officer Winters as she was walking away from the
scene. Winters reacted by immediately arresting appellant for disorderly conduct.

The disorderly conduct statute was not intended to proscribe each and every minor
annoyance. Again, the scope of the statute “is limited to that type of conduct which
involves a genuine intent or tendency to provoke a breach of the peace.” People v.
Pritchard, 27 N.¥.2d at 248 (quotations omitted). Thus; standing alone, appellant's

statement was insufficient to satisfy the "public harm" element of P.L. §240.20. See

People v. Baker, supra, at~362-363; People v. Pritchard, Supra, “ar 249- (reversing:

disorderly conduct conviction based on defendant's fight in dance club, which resulted in
crowd gathering); People v. Perry, 265 N.Y. 362, 365 (1934)(notwithstanding the fight
occurred in public venue and a crowd had gathered to watch, evidence legally insufficient
to establish disorderly conduct); see also People v. Carter, 13 A.D.2d 652 (ist Dept.
1961)(defendant may not be convicted of disorderly conduct where there is a reasonable
doubt whether the conduct was intentional or whether it resulted from a momentary and

unanticipated lack of physical control).

Time and Place
As in Baker, the incident here occurred "on a heavily-populated city street bustling

with car traffic and pedestrian activity." Specifically, the encounter occurred shortly

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before 10:00 p.m. on a Saturday night in noisy midtown Manhattan, a few blocks from
Madison Square Garden, where sport fans regularly congregate outside and yell and curse
and complain about their team’s latest loss. Thus, as in Baker, given the makeup of the
area, "there was no significant likelihood that defendant's brief statements loud [as] they
were would disrupt peace and order in the vicinity.” Baker, 20 N.Y.3d at 363.
Private exchange

The Baker Court reiterated that "isolated statements using coarse language to
criticize the actions of a police officer, unaccompanied by provocative acts or other
aggravating circumstances, will rarely afford a sufficient basis to infer the presence of the
‘public harm’ mens rea necessary to support a disorderly conduct charge." Jd. 7

As in Baker, appellant's: remark was directed exclusively ata police” officer, ““a
party trained to diffuse situations involving angry or emotionally distraught persons."

Baker, 20 N.Y.3d at 363."

0 vee also People v. Fassinger,42 Misc. 3d 407 (Crim. Ct N.Y, Co. 2013)(dismissing
accusatory instrument charging P.L. §240,20(2) and P.L. §240.20(3) based on defendant, who
was walking in middle of sireet, yelling to officer, including saying “arrest me,” and making
several obscene gestures including giving two middle fingers and grabbing her crotch in that the
conduct "create[d] the risk for public alarm as cars were stopped behind patrol in view of the
defendant's behavior." Court noted that officer “could have just as easily ignored Defendant's
crude gestures" and "isolated statements using course language to criticize the actions of a police
officer, unaccompanied by provocative acts or other aggravating circumstances, will rarely
afford a sufficient basis to infer the presence of the public harm mens rea necessary to support a
disorderly conduct charge.”).

 

Vin City of Houston v. Hill, 482 US. 451 (1987), the defendant was arrested after "shout[ing]
abuses," which violated a city ordinance that prohibited “intentionally interrupt[ing] a city
policeman . . . by verbal challenge during an investigation,” and accosting police officers who
were in the process of issuing 4 ticket to his friend. Jd at 454 & n.2. The law had been
interpreted as encompassing those who “verbal[y] abuse” and “curs[e]” ata police officer while
in the line of duty. Je. at 457.

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Absence of other aggravating circumstances

Nor do the other circumstances of the encounter support the inference that
appellant intentionally or recklessly caused public harm or created the risk thereof. As in
Baker, appellant uttered the statement as she was walking away from the scene, from a
distance of 25 feet. The fact that appellant had started to physically distance herself from
the encounter is inconsistent with the finding that she possessed the requisite mens rea or

that her statement created a public safety risk or was otherwise threatening to the police.”

 

Vacating Hill's conviction, the Supreme Court found that the ordinance was unconstitutionally
overbroad because “the First Amendment protects a significant amount of verbal criticism and
challenge directed at police officers.” Hill, 482 U.S, at 461-463. Even speech that is “provocative
and challenging” is “protected against censorship or punishment,” the Court explained, “unless

shown likely to produce a clear and present danger of a Serious substantive evil that rises far

above public inconvenience, annoyance, or unrest.” Id. at 46]. Unless a defendant's verbal
challenge to law enforcement officers rises to the level of “fighting words that ‘by their very
utterance inflict injury or tend to incite an immediate breach of the peace,’” his activity is
constitutionally protected. Hill, 482 U.S, at 461-462 (quoting Lewis v. City of New Orleans, 415
U.S. 130, 133 (1974)(invalidating ordinance that made it a crime “for any person wantonly to
curse or revile or to use obscene or opprobrious language toward .. , police”). As the Hil! Court
noted, “(t]he freedom of individuals verbally to oppose or challenge police action without
thereby risking arrest is one of the principal characteristics by which we distinguish a free nation
from a police state.” Jd. at 462-463.

Similarly, in Provost v. City of Newburgh, 262 F.3d 146 (2d Cir. 2001), the Court sustained the
jury finding that police Jacked probable cause to arrest Provost under P.L. §240.20(3)(using
abusive or obscene language in a public place), despite evidence that Provost, who became angry
after a lengthy wait at a police station, repeatedly “scream|[ed], swfore], [and] hollerf[ed]” at
officers in the presence of others. fd. at 131-152. ‘The Court ruled that Provest’s “language could
not be the basis for a valid arrest because .. . it was constitutionally protected,” 262 F.3d at 159,
and “[o]nly fighting words directed at police officers can be criminalized” because “a properly
trained officer may reasonably be expected to exercise a higher degree of restraint than the
average citizen.” Id. at 159-160 (quotations and citations omitted).

'2 The presecutor's argument on sumunation that appellant's intent to create a public disturbance
could be inferred from the fact that she made the statement to the police from afar instead of
face-to-face is ridiculous and should be rejected. There were four officers at the scene, none of
whom seemed the least bit sensitive to appellant's complaint, and appellant, who was evidently

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Nor was there any evidence that Winters felt threatened by appellant at an earlier
point, before she started to walk away. During Winters five-minute conversation with |
appellant, the officer was leaning against a phone booth in a relaxed pose and three
fellow officers were within arm's reach. 7
Regardless of whether the remark was directed at Winters specifically or all four
officers, here, as in Baker and as in People v. Munafo, 50 N.Y.2d 326 (1980), 4 which
also involved a private dispute between the defendant and police, there was no indication

ihat appellant sought to expand the boundaries of the encounter by inciting or involving

 

alone, had reason to question their professionalism and judgment. That appellant uttered the
statement from a distance supports the inference that, although she wanted to voice her
dissatisfaction with how Winters handled her complaint, she felt less vulnerable expressing _

herself from afar.

3 Although appellant had earlier used animated hand gestures while communicating to officer
Winters, there is no evidence that the gestures were intended to be menacing or threatening.
Studies of gesture at the University of Chicago concluded that speech and gesture are two
aspects of a single linguistic system and the evidence suggests that the greater the cognitive
effort required for speech, the more we gesture. Essentially, hand-waving, some of which is
reflexive, seems to decrease our "cognitive load" or the amount of mental effort needed to
retrieve information. http://online.wsj.com/news/articles/SB 1068698762 1722900, Although Relf
claimed that appellant was acting "ageressively,” Relf was apparently referring to appellant's
hand gesturing and there is no evidence to suggest that Relf (or any of the other officers) actually
felt threatened. In any event, regardless of how the police perceived the earlier hand gesturing, at
the time of appellant's arrest, she was walking away from the scene and clearly posed no threat.

i4 Defense counsel relied on Munafo in support of the defense motion to dismiss based on
insufficient evidence of public harm. In Munufo, the defendant fired a shot in the air at a State
Power Authority construction crew that was attempting to erect a transmission line on a right-of-
way that went through his farm. About ten people witnessed the incident but they had not been
drawn there by defendant's conduct and did not get involved. The evidence in Munafo did not
support the disorderly conduct conviction not only because the incident occurred on the
defendant's private property in a remote area, but also because there was no indication that the
defendant sought to incite or involve the witnesses, who were already in the area, and the “only
fair inference was that the differences between the authority and the defendant were confined to
these two disputants rather than spread to the public.” People v. Munafo, 50 N.Y.2d at 332.

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members of the public. See Munafo, at 331-332; see also People v. Castro, 29 Misc. 3d
1217(A) (Sup. Ct. Bronx Co, 2010)(no probable cause supporting disorderly conduct
arrest; defendant's conduct - yelling and cursing at officers writing traffic ticket and
puffing out his chest - was directed at police and defendant made no attempt to involve
spectators); cf People v. Gonzalez, 112 A.D.3d 440 (1st Dept. 2013)(finding probable
cause for disorderly conduct arrest where defendant loudly and angrily cursed police
officers, violently waved his arms, screamed complaints about the police to people in the
vicinity, and forced subway riders out of his way, conduct which "escalated defendant's
initially individual interaction with the police officer so as to create a ‘potential or

immediate public problem" )(quoting People v. Weaver, 16 N.Y.3d at 128)); Jn re

Yonathan McL., 303 A.D.20 169 (ist Dept 2003)(probable cause for-disorderly conduct

arrest where defendant flailed his arms and yelled obscenities in presence of gathering
crowd and police, who had been summoned by livery cab driver to help resolve dispute

with appellant). "°

Conduct of bystanders
Nor did the other evidence support the finding that appellant's private grievance
with the police was at risk of becoming public issue. See Munafo, 50 N.Y.2d at 331. In

assessing whether a defendant's conduct constitutes “a potential or immediate public

 

'S ‘The Baker Court noted that the presence of another officer in the areca effectively "diluted the
risk that others in the vicinity would join forces with [the] defendant and gang up on [the first
officer]." Baker, at 363. Unlike in Baker, here there were three other officers at the scene, not
just one.

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problem,” relevant factors include: "the number of other people in the vicinity; whether
they are drawn to the disturbance and, if so, the nature and number of those attracted; and
any other relevant circumstances.” People v. Pritchard, 27 N.¥.2d at 248-249.

While there were a few pedestrians and bystanders in the vicinity, and one officer
testified that a crowd of five gathered across the street, 16 as in Baker, there is "no
evidence that the bystanders expressed any inclination, verbally or otherwise, to involve
themselves in the dispute between defendant and [the officer]." People v. Baker, 20
N.Y.3d at 363; see People v. Munafo, 50 N.Y.2d at 331-332 (no public harm to support
disorderly conduct conviction where, inter alia, confrontation "confined to [the] two

disputants"). Thus, as in Baker, there is "no basis to infer that these spectators were

(citing Pritchard, at 248-249).

No evidence that the public was annoyed, alarmed, or inconvenienced

Moreover, although the police were abviousty upset over appellant's remark, there
is no evidence that members of the public were actually annoyed, alarmed or
inconvenienced by appellant’s actions, as required under P.L. §240.20. See People v.
Jones, 9 NY3d 259, 262 (2007)(dismissing information charging P.-L.
§240,20(5)(obstructing vehicular or pedestrian traffic) for failure to allege sufficient facts

"supporting or tending to support" mens rea element; Although as a result of defendant's

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'6 According to the police, the number of bystanders and onlookers who gathered to watch the
encounter ranged from five to twenty.

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motivated by anything other than curiosity or a desire for entertainnient.” Baker, ac036t— ~~

 
 

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conduct, numerous pedestrians had to walk around defendant, “[s]omething more than a
mere inconvenience of pedestrians is required to support the charge”); People v. Munafo,
50 N.Y.2d at 332 (no evidence defendant's conduct caused “any obstruction of passage,
vehicular or pedestrian, of the public at large”); People v. Richardson, 30 Misc. 3d
1204(A) (Crim. Ct. N.Y. Co. 2010)@.L. §240.20(3))(information alleging defendant
yelled obscenities at a New York City location, causing a crowd to gather, insufficient to
support disorderly conduct, absent allegation that anyone was annoyed or inconvenienced
by defendant's actions), see also U.S. v. Olavarria, 2011 WL 1529190 (S.D.N.Y.)(where
entire incident lasted no more than five minutes, obstruction of pedestrian traffic

unlikely); People v. Snyder, 36 Misc. 3d 137(A) (9th &10th Jud. Dists. 2012)(evidence

legally insufficient to establish P.L. §240.20(2); intent to create public disturbance not

supported by facts where, inter alia, defendant shouted in protest of what he reasonably
believed to be his wrongful treatment by police outside his home and prosecution did not
present evidence regarding effect on public); ¢f People v. Malone, 28 Misc. 3d 1227{A)
(Crim. Ct. New York Co. 2010)(disorderly conduct charge sufficiently pled where

defendant's conduct caused people to leave and avoid Times Square area).

This case is readily distinguishable from People v. Weaver and People v. Tichenor
At trial, the prosecutor, relying on People v, Weaver, argued that appellant's mens

rea to commit disorderly conduct was inferable from the circumstances. Given the

 

'I ‘The requisite intent to breach peace cannot be found solely upon the prohibited act itself. See
People v. Pearl, 321 N_Y.S.2d 986, 987 (1st Dept. App. Term 1971)(obstructing sidewalk).

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striking factual dissimilarities between this case and Weaver, however, the prosecutor's
reliance on Weaver was wholly misplaced."

In Baker, the Court cited Weaver as an smelt of a case in which the requisite
mens rea was “readily inferred” from the circumstances, which included:

1. Context; The incident in Weaver occurred A) at a public location — a parking lot by an
open gas station; B) in a sleepy little upstate town; C) in the middle of the night.

2. Defendant's conduct: A) Weaver was waving his arms and yelling obscenities at his
bride (who was sitting on the curb crying) in a "loud, aggressive, and threatening tone"
arid, B) when the police tried to mtervene on his wife's behalf, the defendant threatened
the officer not to put her hands on him, and C) only after failing to comply with repeated
warnings to stop his disruptive behavior, was-defendant-was~arrested~for-disorderly
conduct.

Given Weaver's aggressive response to the officer's effort to intervene on his
bride's behalf, the Baker Court noted, the "protracted, increasingly aggressive nature of
defendant's vocalizations,” the officer's repeated warnings to calm down and go
elsewhere, which Weaver ignored, and the place and time of the encounter, readily
supported the inference that Weaver's intent was to create a risk of public harm.

Notably, unlike Weaver, the encounter here occurred shortly before 10 p.m. on a
Saturday night in midtown Manhattan, an area where the public is bombarded with Joud

noises around the clock — including clanging banging sanitation trucks, horns, shrill

 

18 The court, in denying the motion fo dismiss and convicting appellant on both counts,
presumably credited the prosecutor's argument.

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police and ambulance sirens, street traffic — chronic noises that are louder and far more
noxious and offensive than one brief vacal outburst.

Moreover, unlike in Weaver, appellant's conduct was not “increasingly
aggressive," and the dispute was a private matter between appellant and officer Winters
and did not involve an innocent third party. Notably, unlike in Weaver, where the
defendant was arrested only after he ignored repeated police warnings and whose
disruptive conduct showed no sign of abating, here the police did not issue a single
warning, let alone multiple warnings prior to the arrest.!” Moreover, unlike the defendant
in Weaver, appellant was arrested after she started to walk away, when the encounter was
winding down. See Peaple v. Richardson, 30 Misc. 3d 1204(a) (in determining whether

—“Tefendant had culpable menial state to create public disturbance court should consider, ©
inter alia, whether defendant persisted in the conduct after the police issued warnings).

Finally, unlike the protracted encounter in Weaver, here the conduct consisted of a
single derogatory statement. Even if the conduct preceding the remark could somehow be
characterized as disruptive — which it was not — the entire encounter was over in five
minutes or less.

The facts in this case also bear little resemblance to those in People v. Tichenor,
89 N.Y.2d 76, where the defendant's intent was also readily inferable from the

circumstances. Baker, 20 N.Y.3d at 361.

 

' When Winters asked appellant to lower her voice, appellant complied. Her tone again became
elevated in reaction to Winters’ comment that appellant should contact the BBB about the
assault.

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In Tichenor, the defendant, who was standing by the Sincomey of a bar in
Saratoga Springs late at night, spit and yelled obscenities at an officer as the officer
walked by and then shoved the officer, who was alone on foot patrol. When the officer
tried to arrest the defendant for disorderly conduct, a crowd of patrons gathered and
yelled for the officer to leave the defendant alone. The defendant retreated inside the bar
and, when the officer followed him inside, a scuffle erupted between the defendant, the
officer, and a number of bar patrons. /d.

The defendant instigated the confrontation, the Baker Court noted, and the
circumstances of the encounter -- a single officer, a crowd of reactive bar patrons who
voiced their support for the defendant, and the defendant's retreat inside the bar -- created
"a risk of public harm.” That the harm actually materialized was” “x predictable result
given the context of [defendant's] obstreperous statements and conduct." Baker, at 361.

The only commonality between the instant case and Jichenor is that both cases
occurred at night in or near a bar. Indeed, unlike the officer in Tichenor, who was alone
on foot patrol, here there were three officers standing within arm's reach of Winters. And,
unlike the officer in Tichenor, who felt threatened and called for back-up assistance, here
there was no evidence that the police considered appellant's conduct a threat to the police
or to the public. Finally, unlike the defendant in Tichenor, appellant approached the

police for a lawful purpose, not to instigate a confrontation.
 

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Appellant's statement did not constitute "unreasonable noise”

Appellant also lacked the requisite actus rea to commit P.L. §240.20(2). In People
y. Bakolas, 59 N.Y.2d 51, the defendant, who was stopped for a traffic violation, became
abusive and threatening to the police. Refusing to return to his vehicle when ordered to
do so, the defendant stood in the roadway thus forcing vehicles to swerve to avoid
striking him, Jd. at 52-53. Defining “unreasonable noise” as a noise of a "type or volume

that a reasonable person, under the circumstances, would not tolerate,” the Bakolas Court

 

concluded that "the objective standard of public disturbance, the requirement of
unreasonableness, and the narrowing effect of the fact that all of the other acts proscribed
by the section are publicly offensive, permit, if they do not require, [a constitutionally
N.Y.S.2d 669 (Sup. Ct. 2013)(discussing P.L. §240.20(2)); relevant inquiry includes
nature of noise and attendant circumstances, such as character of surrounding area and
number of people attracted).

Although appellant's remark was loud, given the makeup of the area and the lack
of sound measurement evidence in the case, the evidence did not establish that the tone of
appellant's voice was objectively unreasonable, particularly since there was no testimony
that any of the bystanders complained to the police or acted in a way that suggested they

found the noise intolerable.

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Conclusion

In sum, appellant's appellant's brief emotional outcry over Winter's handling of her
assault complaint and the officer's insensitive comment does not constitute disorderly
conduct. Appellant may have uttered the statement on a public street, but the remark was
directed exclusively at the police, specifically officer Winters, the episode occurred on a
commercial block in noisy midtown Manhattan, appellant never attempted to draw a
crowd or to incite anyone else to become involved with her private grievance against the
police, and there was no evidence suggesting there was a risk that the situation could
escalate. In fact, appellant made the statement afler she physically withdrew from the
situation and was walking away, thus signaling that her intent, notwithstanding her brief
outcry, was to put the entire upsetting exchange witht Winters behind hers in-short-this————
was not a situation "that carried beyond the individual disputants to a point where [it] had
become a potential or immediate public problem.” Munafo, 50 N.Y.2d at 331.

Thus, for the reasons stated above, even viewing the evidence in the light most
favorable to the prosecution, there was a failure of proof as to an essential element of the
crime. The circumstances simply do not support the inference that appellant intended to
create a public disturbance or recklessly disregarded the risk thereof. At the very least,
the verdict was against the weight of the evidence. Therefore, the conviction should be

reversed and the accusatory instrument dismissed.

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CONCLUSION

FOR THE REASONS STATED ABOVE, THE
CONVICTION SHOULD BE REVERSED AND THE
ACCUSATORY INSTRUMENT DISMISSED.

Respectfully submitted,

SEYMOUR JAMES, Jr.
Attorney for Defendant-
Appellant

JANE LEVIED ——— atc ,
Of Counsel SO
June 2015

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Exhibit X

 
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9/7/2011 SD met with CL at CVTC. .
9/7/20111SD did a lot of CC with CL during our meeting. Crisis
; <p oc samoaiiaiihiiaaatnemreneomat |
9/7/2011\SD s/w CL about the likelihood that ihe charges against her will be Info-Legal |
Propped Aatetiout:iamygeesiecs
'_9/77/2011|SD s/w CL about the history of DV b/w them and described the IInfo-Oiher

______jeemmon tactics used by abusers to get what they want.
9/7/2011/SD advised CL that the court calendar governs when certain things |Info-Legal
happen, so if the ADA is planning on dropping the charges, he/she
can do so at that court date. :
9/7/2011\SD suggested that CL look into the CCRB as a possible mechanism Info-Legal
ifor holding the 28th precinct cops accountable for what they've done
to her.
9/7/2011|SD advised CL that the only real oversight with NYPD comes from info-Legal
\AB (which she's already involved with) and the CCRB.
9/7/2011|SD advised CL that in cross-complaint cases, credibility is key and |info-Legal
the pending criminal case against her puts her at a disadvantage as
____ ffaras that's concerned. - sansa
SI7/2011/SD informed CL that the first focus’should-be-getting the-charges— Info-Legal- =i
dropped and once that's resolved, then see if it's possible to re-open
_a the assault case against RESP. mak te P sun
9/7/2011/SD gave CL my card with the LAP HL # on it in case she needs to Info-Legal
makes contact me. oe RN A dnanpiniianiit
9/14/2011/SD sAw CL who called in for me at CVTC. \Follow Up _

ee = = |
9/1 4/201 11SD, with Lisa H. @ CVTC, attempted to contact Lisa Callahan @ the |CJA-DA |
Min DA's office, No answer. Left vm with my direct line and extension |

|

 

 

 

 

 

 

 

 

 

to call me back.

~ 9/14/20111SD advised CL that b/c of the bureaucratic nature of the system, Info-Legal
| correcting mistakes like this take an extensive amount of time.

— 9/14/2011)CL expressed fear at being incarcerated "for the rest of her life," and |Info-Legal
SD reminded her that these are all MISD charges and carry a
| maximum of 1 year.

"9/14/2011 SD advised CL that we tried to call Lisa Callahan at the DA's office. lInfo-Legal |
| but there was no answer so we left a message asking her to call me |

back at the office on My @XteMSIOM. ae ene ——
9/14/2011 (SD advised CL that we have a working relationship with the DA's Info-Legal
loffice and will try to utilize that to help her.

| 10/14/2041 SD called Lisa @ CVTC to s/w her on CL's behalf about Belinda PA-Legal |
| escorting CL to her appt with a City Council member to discuss her

—_ __ {treatment by NYPD and the DA's office. No answer. Left vm.
" 40/28/2011/SD siw CL whe called forme onthe Me
40/28/2011 |SD offered CL emotional support given her treatment by the police ICrisis
| and the DA's office - Counseling |

 

 

 

 

 

 

 

 

 

Follow Up |

 

 
 

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I ype off:
pemivere Bo Sie ti asd ae tes re ree Seale ‘Services
| 40/28/2011|SD advised CL that! can call the precinct to speak with the DVPO _ |Info-Legal
who took her rep't on RESP's latest attack (a PO Simmons) and find
|_______Jout what happened w/ the DIR |
| 40/28/2011|SD advised CL that both Lisa @ CVTC and | have been trying to get jInfo-Legal
| through to the DA's office about getting the charges dropped but
|. ____. we're not getting anywhere on that front _ :
, 10/28/20111SD advised CL to send me her copy of the DIR and then Icancall |Info-Legal
| the 28th precinct to speak with DVPO Simmons about how it was
| "lost" according to Lt. LaRocca. Gave CL our fax #. ;
11/1/2011|SD called the 28th precinct to speak w/ DVPO Simmons about this |CJA-Police
DIR. She was very resistant and wasn't able to provide any info
except that the report got “lost in the system”. Her stance was that
CL must return to the precinct to file another one. eee in
41/8/20111SD siw CL about Belinda accompanying her to the precinct to make jInfo-Legal
ja report as well as to her meeting with Christine Quinn's office to
report her treatment by the police. _|
11/8/2011|SD offered CL emotional support and validated her feelings about {Crisis
} the 28th precinct's handling of her case. gg le Counseling
—4178/2014/SD.gave-CL-a.mn-down of the.very. unproductive phone call | had__|Info-Legal._}..
with the DVPO last week, and advised her that the issue is definitely
not her fault. _ __.
41/8/2011ICL called on the Ht and SD s/w her about what happened when! [Follow Up
| called the 28th precinct last week.
47/8/2011 (SD emailed KT & Anindita about having Belinda accompany CLto |PA-Legal |
_ __|the 28th precinct to re-file the DIR that they “lost in their system, | __}
| 11/9/2011|SD s/w CL briefly at CVTC about Belinda accompanying her to the Follow Up
|____28th precinct. CL was just getting out of groupatCVTC. -
11/9/2011|SD siw CL briefly at CVTC about Belinda accompanying her to the Info-Legal
____ 8th precinct. CL. was just getting out of group atCNTC. st .
11/9/2011\SD provided CL w/ emotional support about her treatment by the Crisis
| a . 28th and confirmed that | was also stonewalled by the DVPO there. |Counseling |
44/9/2014 ISD advised CL that | would meet with Belinda on Friday to go over _—_|Info-Legal
| CL’s case with her, so she should be able to accompany her next
= -- —— week. —— . = re
, 11/16/2011|SD called CL to set up a time for Belinda to accompany her to the Follow Up
{ precinct in order to make a report. No answer. Her voice mail box
jas full so | couldn't leave amessage. ee oo
"11/45/2011 'SD called Lisa @ CVTC to s/w her about CL. No answer. Left vm PA-Legal
| asking for a call back. a i. _!
— 11/15/2011|SD s/w Lisa @ CVTC who returned my phone call. Discussed the PA-Legal
| accompaniment to the 28th precinct as well as CL possibly testifying \

"41/16/2011 |SD m

 

 

 

at City Council.

 

 

 

 

 

et with CL at CVTC and briefly discussed Belinda escorting her iWfoOther |
 

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| to the 28th precinct to file he
City Council early next yr. os
41/16/2011 SD met with CL at CVTC and briefly discussed Belinda escorting her |Follow Up |
to the 28th precinct to file her DIR as well as possibly testifying at
City Council early next yr.

 

 

 

- 41/16/2011|SD met with CL at CVTC and briefly discussed Belinda escorting herlinfo-Legal
to the 28th precinct to file her DIR as well as possibly testifying at
City Council early next yr. —_ i

411/22/2011|SD called CVTC to s/w Lisa to let her know that Kelly and Belinda PA-Legal
will be meeting at CVTC on Thursday (12/1) to head up to the 28th |

precinct. —
14/22/20111BD s/w CL and arranged a date/time to meet @ CVTC and then to Info-Legal
L go up to the 28th precinct. ee
41/22/2011 SD s/w CL who called in on the HL. Let her know that | hadn't been {Follow Up
able to get a hold of her and had her s/w Belinda to schedule a time

to go to the precinct.
41/22/2011}SD s/w CL who called in on the HL. Let her know that | hadn't been Info-Legal
able to get a hold of her and had her s/w Belinda to schedule a time
| to.go tothe precinct. ae
11/30/2011|SD advised CL that now that her OP was downgraded, it's critical iInfo-Legal
_____}that she obtain the DIR to prove the OP violation to the IDV judge. ee
41/30/2011}SD called CL to s/w her about meeting tomorrow wi BD to head to /Follow Up
—_ the 28th precinct. _ _ .
| 44/30/2011/SD provided CL emotional support b/c of what occurred in|DVw/ [Crisis
her OP (hers was downgraded to a limited OP and he still has a stay iCounseling

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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| ay against her). oe pape epee a
11/30/2011 SD s/w CL about what happened in IDV court yesterday wi her OP. iInfo-Legal
4 1/30/2011|SD s/w CL about the possibility of a City Council hearing and let her Info-Other
| know that it's still in the initial stages. | haven't heard anything more |
| about it. _
| 44{30/20111SD confirmed the time/date for CL to meet with BD and head to the ‘Info-Legal |
precinct. ee ee . ee
42/1/2011|SD called Lisa @ CVTC to give her an update on what took place PA-Legal
{ today at the 28. No answer. Left vm, Also informed her about my
conversation w/ KT and the potential to speak directly to Audrey but
we need to be confident that there's nothing that can be used |
| ee against CL. |
[ 12/1/2011|BD met with CL at CVTC to accompany her to the 28th precinct. BD |CJA-DA |
assisted CL with filing a DIR for the OP violation and emailed SD to |
|

 

 

 

 

 

| inform her of what took place. CL was very happy with the effect of
the accompaniment and articulated her desire for BD to accompany
her in other respects.

i 12/1/2011 [SD siw Lisa who called me back. Discussed CL’s case and |PA-

 

 
 

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Counseling

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possibility of a meeting to try and hash out the probability of going t
DA's office with a solid case for dropping the charges. Will speak to
| ____IKT about this. _ .
42/1/2011\SD s/w Lisa who called me back. Discussed CL's case and PA-Legal |
pessibility of a meeting to try and hash out the probability of going to |
DA's office with a solid case for dropping the charges. Will speak to
_ |KT about this. :
12/1/2011|BD met with CL at CVTC to accompany her to the 28th precinct. BD CJA-Police
assisted CL with filing a DIR for the OP violation and emailed SD to
inform her of what took place. CL was very happy with the effect of
the accompaniment and articulated her desire for BD to accompany
her in other respects.
12/1/2011|BD met with CL at CVTC to accompany her to the 28th precinct. BD |Info-Legal
assisted CL with filing a DIR for the OP violation and emailed SD to
inform her of what took place. CL was very happy with the effect of
he accompaniment and articulated her desire for BD to accompany
her in other respects.
42/1/2011\BD met with CL at CVTC to accompany her to the 28th precinct. BD (Foliow Up
assisted CL with filing a DIR for the OP violation and emailed SD to
inform her of what took place. CL was very-happy with-the-effect-of —|— =}
the accompaniment and articulated her desire for BD to accompany
her in other respects.

| 42/1/20111BD met with CL at CVTC to accompany her to the 28th precinct. BD (Crisis

 

 

 

 

 

 

 

|

 

 

 

assisted CL with filing a DIR for the OP violation and emailed SD to Counseling |

| inform her of what took place. CL was very happy with the effect of
| the accompaniment and articulated her desire for BD to accompany |
her in other respects
bi rt : .
4972/2011 sD emailed Lisa to arrange a time for us to meet w/ KT to discuss PA-Legal |
iOL's case and develop a strategy for advocating with the DA's office. | |

 

'J275/2074 SD s/w CL who called in very upset b/c she ran into RESP atthe |FollowUp |

bodega and had to turn around and walk out while they (him and his
friend) laughed at her.

| ~ 42/5/2011 'SD s/w CL to try and de-escalate her a bit, and then reminded her Crisis !
ithat the best thing she can do for now is protect herself from the OP |Counseling |
even though it's infuriating. i

 

 

 

| 12/5/2011 11S siw CL to try and de-escalate her a bit. and then reminded her Safety
| that the best thing she can do for now is protect herself from the OP |Planning

 

even though it's infuriating

(72/6/2011 |SD advised CL that KT and | need to review her papers from court
so that we can see what exactly happened there before we can do
| any kind of advocacy on her behalf. CL will fax them today.

as = —

' 12/6/201 4|SD called CL unblocked to ffu on her vm from yesterday about her Fallow Up |
fax. It was not in the fax machine. No answer. Left vm. |

a eg nn rel

| 42/6/2011|SD siw CL who catled in returning my vm. Confirmed for her that } info-Legal

 

Info-Legal |

 

 

 

 

 

 

 

 
 

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iid not r going te drop it by
________Ithe office today. | gave her the address. —_
, 12/6/2041 SD called CL unblocked to f/u on her vm from yesterday about her Info-Legal
fax. It was not in the fax machine. No answer. Left vm.
42/6/2011/SD siw CL who called in returning my vm. Confirmed for her that! {Follow Up
did not receive the fax (checked again), so she is going to drop it by
ithe office today. | gave her the address.
42/7120111SD and Lisa s/w CL about how her actions, w/o the context of the ‘Info-Legal
history of DV against her, could have been seen as a batterer's
actions. ot ema
12/7/2011|SD met with CL at CVTC. CVTC
42/7/2011\SD and Lisa s/w CL about the common tactics batterers use to Info-Legal
intimidate their victims, and how some of her actions and statements |
_ could be misrepresented to look like those tactics.
42/7/20111SD s/w CL about the 28th precinet and their handling of the case: \nfo-Legal
42/7/2011\SD provided CL w/ emotional support given the handling of her case |Crisis
1 to date. / ee la Counseling
42/7/2011 SD s/w Lisa about CL's case and tried to set up a time for her to |PA-Legal
meer with KT and I'to‘go-over the court doc's inGl's-pessession- and >=
work out a coherent story to possibly present to the DA's office on
ho eeeenen en fCU'S behalf. | ce nemo:
12/7/2011 ISD s/w CL about the DA's office's handling ofhercase. __|Info-Legal
42/8/20111SD s/w Lisa and KT about setting up a meeting sometime next PA-Legal
ae = week. er a ee a pee ns
42/13/2011 'SD tried calling Lisa @ CVTC again to set up a time to meet w/ KT PA-Legal
re. CL's legal case. Trying for tomorrow afternoon near the end of
1 ithe day. —— 7 a
* 49/13/20111SD s/w Lisa who called me back, and we set up the time of 3pm PA-Legal
{ tornorrow to meet w/ KT to review CL's legal case.
| 12/20/2011)SD called Lisa returning her message about setting up a time to PA-Other |
| __|meet wi KT re. CL's legal case. Na answer. Left vm. - =
42/20/2011/SD called Lisa returning her message about setting up a time to PA-Legal
| ; __|meet w/ KT re. CLs Jegal case, No answer. Left vm eee
- 42/20/2011|SD s/w Lisa @ CVTC and (tentatively) set up a meeting for next PA-Legal
week on Wed @ 11 am. . ern | a
" 42/28/2011|SD met wi Lisa & KT re. CL's case; Family Court OP, Crim Court PA-Legal
be charges, and proving she's a survivor of DV. ee |
42/28/2011 |KT met w/ Lisa & SD re, CL's case: Family Court OP, Crim Court PA- i
 jeharges, and proving she's a surivor of DV. Counseling _|
12/28/2011 KT met w/ Lisa & SD re. CL's case: Family Court OP, Crim Court PA-Legal |
charges, and proving she's a Surivor of DV. se cecirapatentinmcecremenenmnslli ;
"42/28/2011'SD met w/ Lisa & KT re. CL's case, Family Court OP. Crim Court IPA-Family

 
 

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Se EN Fe er aera a=
 amigueshioainde! charges, and. proving she's a survivor of DV. Court | |
12/28/20111SD met wi Lisa & KT re. CL's case, Family Court OP, Crim Court -|PA- |
charges, and proving she's a survivor of DV. _____ {Counseling
12/28/2011/KT met w/ Lisa & SD re. CL's case: Family Court OP, Crim Court PA-Family |
__|eharges, and proving she's a surivor of DV. - Court ; |
4/5/2012\KT met with Lisa, SD, and CL to discuss the FC case, the CC PA-Family

charges against her, short and long-term priorities and goals, and {Court
__ forming an effective strategy to address them. a
4/5/20121KT met with Lisa, SD, and CL to discuss the FC case, the CO iPA-Legal
charges against her, short and long-term priorities and goals, and |

 

forming an effective strategy to address them. ;
4/5/2012ISD met w/ Lisa, KT, and CL to discuss the FC case, the CC charges |Safety
against her, short and long-term priorities and goals, and forming an Planning
effective strategy to address them. ae
1/5/2012\KT met with Lisa, SD, and CL to discuss the FC case, the CC Safety
charges against her, short and fong-term priorities and goals, and = |Planning
forming an effective strategy to address Wigs iy
1/5/2012\KT met with Lisa, SD, and CL to discuss the FC case, the CG Crisis
== |eharges-against her,short-and.iong-term. priorities.and.goals,.and_.. |Counseling, |
forming an effective strategy to address them. ; i
4/5120121SD met w/ Lisa, KT, and CL to discuss the FC case, the CC charges Crisis
against her, short and long-term priorities and goals, and forming an Counseling |
— effective strategy to address them. ed |
4/5/2012\SD met wi Lisa, KT, and CL to discuss the FC case, the CC charges PA-Legal
against her, short and long-term priorities and goals, and forming an
effective strategy | to address them.

 

 

 

 

 

 

 

 

 

4/5/2012 SD met wi Lisa, KT, and CL to discuss the FC case, the CC charges PA-Family |
against her, short and long-term priorities and goals, and forming an |Court
jeffective strategy to address them.

 

 

| 976/2012|SD met w/ Lisa, KT, and CL to discuss the FC case, the CC charges |[PA-
against her, short and long-term priorities and goals, and forming an \Counseling |
effective strategy to address them.

| “77/2012 KT met with Lisa, SD, and CL to discuss the FC case, the CC IPA-
| charges against her, short and long-term priorities and goals, and Counseling
forming an effective strategy to address them.

1/11/2012{SD explained what our strategy will be in advocating with the DA's iInfo-Legal
| office and reminded her that while we believe her story, we have to
| know exactly what took place (whether it was incriminating or not) se
that we can lay out the entire context of DV and its impact on her
actions.
| 41/11/2012|SD s/w CL about the different sub-sections of the aggravated Info-Legal |
harassment charge that she's facing and what they mean. |

| 1711/2012|SD met w/ CL at CVTC to d

 

 

 

 

 

 

discuss the charges in-depth and to get 2 ‘Follow Up_|
